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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF IDAHO


WESTERN WATERSHEDS PROJECT, and                          Case No.: 1:18-cv-00187-REB
CENTER FOR BIOLOGICAL DIVERSITY,
                                                         CASE MANAGEMENT ORDER
       Plaintiffs,

       vs.

RYAN K. ZINKE, Secretary of Interior; DAVID
BERNHARDT, Deputy Secretary of Interior; and
UNITED STATES BUREAU OF LAND
MANAGEMENT, an agency of the United States,

       Defendants,

       and

STATE OF WYOMING; WESTERN ENGERGY
ALLIANCE

       Defendant-Intervenors.


       In accordance with the agreements reached via the parties’ October 24, 2018 Joint

Proposed Litigation Plan (Docket No. 79), the October 30, 2018 telephone scheduling

conference held between counsel and the Court, the parties’ November 5, 2018 Stipulated

Supplement to Proposed Litigation Plan (Docket No. 92), and to further the just, speedy, and

inexpensive determination of this case,

       IT IS ORDERED that the following deadlines and procedures will govern this litigation:

A.     JOINDER OF PARTIES/AMENDMENT OF PLEADINGS: January 30, 2019.

B.     “PHASE ONE” SUMMARY JUDGMENT

       1.      Administrative Record

               a.      Federal Defendants shall file the Administrative Record for IM 2018-034

and the administrative records for the five lease sales subject to Plaintiffs’ as-applied challenge

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to IM 2018-034 (the June 2018 Nevada, September 2018 Nevada, June 2018 Wyoming,

September 2018 Wyoming, and September 2018 Utah lease sales), under the Fourth and Fifth

Claims for Relief, on or before January 30, 2019.

               b.       The parties shall notify Federal Defendants (with a copy to all parties) of

any objections to the Phase One Administrative Record by February 25, 2019.

               c.       Any supplemental administrative record that stems from the Federal

Defendants’ response to objections to the Phase One Administrative Record must be filed no

later than March 15, 2019.

               d.       If the parties’ objections to the Administrative Record are not resolved,

parties shall file any motion challenging the Phase One Administrative Record by March 11,

2019.

               e.       If any motions regarding the administrative record are filed, the summary

judgment briefing schedule set forth below shall be tolled pending the resolution of such

motions. Assuming that no such motions are filed, the Phase One partial summary judgment

briefing shall apply:

        2.     Summary Judgment

               a.       Plaintiffs shall file their Phase One partial summary judgment motion and

opening brief by March 22, 2019.

               b.       Federal Defendants shall file their cross-motion for summary judgment on

the Fourth and Fifth Claims for Relief and combined opening/response brief by May 1, 2019.

               c.       In accordance with the Court’s August 21, 2018 Memorandum Decision

and Order regarding now-Intervenor-Defendants then-pending Motions to Intervene, Intervenor-




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Defendants shall file their joint response brief and any cross-motions for summary judgment by

May 15, 2019.1

               d.      Plaintiffs shall file their combined response/reply brief by June 5, 2019.

               e.      Federal Defendants shall file their reply briefing by June 19, 2019.

               f.      Intervenor-Defendants shall file their reply briefing by July 1, 2019.

C.     “PHASE TWO” SUMMARY JUDGMENT

       1.      Administrative Record

               a.      Federal Defendants shall produce the administrative record for IM 2018-

026 on or before March 1, 2019.

               b.      Federal Defendants shall produce the administrative record for Normally

Pressured Lance on or before April 17, 2019.

               c.      Federal Defendants shall produce the Interior Board of Land Appeals

(IBLA) case file for Normally Pressured Lance when it is prepared.




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           Within the August 21, 2018 Memorandum Decision and Order, the Court ordered that
Intervenor-Defendants file joint briefing two weeks after Federal Defendants’ briefing. See
8/21/18 MDO, p. 7 (Docket No. 54). Since then, Defendant-Intervenors have sought a
modification of such terms (see generally Jnt. Mot. to Mod. (Docket No. 84)) and, thus, for the
purposes of the parties’ joint filings concerning deadlines moving forward, Defendant-
Intervenors consent only to the briefing schedule – not the filing of joint briefs. See Jnt. Prop.
Lit. Plan, p. 4 n.1 (Docket No. 79). Defendant-Intervenors Motion remains pending and will be
resolved in due course.

        Separately, Plaintiffs seek clarification of the August 21, 2018 Memorandum Decision
and Order as to whether Defendant-Intervenors “may submit cross-motions for summary
judgment, whether such motions must be limited to arguments not made by Federal Defendants
to avoid unnecessary duplication, and what page limits will apply to the briefs.” Jnt. Prop. Lit.
Plan, p. 4 n.2 (Docket No. 79). This question will be addressed as part of the Court’s
consideration of Defendant-Intervenors’ pending Joint Motion to Modify.

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               d.     The parties shall continue to meet and confer to identify which final

actions will be litigated in Phase Two and shall propose a schedule for production of the

remaining Phase Two administrative records on or before February 5, 2019.

D.     STATUS CONFERENCE: A Telephone Status Conference in this matter is set for

February 12, 2019 at 10:00 a.m. (Mountain). Mr. Hajek shall initiate the call, connecting the

Court at (208) 334-1495. Please make arrangements to use either a Conference-Call Operator or

a Conferencing System call-in line for this conference.



                                                    DATED: December 13, 2018

                                                    _________________________
                                                    Ronald E. Bush
                                                    Chief U.S. Magistrate Judge




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